Case 3:19-cv-08268-DLR Document 47-3 Filed 10/16/20 Page 1 of 60

EXHIBIT D-2
Case 3:19-cv-08268-DLR Document 47-3 Filed 10/16/20 Page 2 of 60
Case 3:19-cv-08268-DLR Document 47-3 Filed 10/16/20 Page 3 of 60

United States Department of the Interior

NATIONAL PARK SERVICE
Intermountain Regional Office
12795 W. Alameda Parkway
P.O. Box 25287
Lakewood CO, 80228-2822

IN REPLY REFER TO:

IMR-SHW

Memorandum

To: Superintendent, Grand Canyon National Park
From: IMR Occupational Safety & Health Manager
Subject: Radiation Program Assistance

On or about June 11, 2018 this office received a request for assistance with a radiation issue at
your location. After reviewing supplied documents NPS-GCNP-RMC-01 Dated June 20-22,
2000, and Revision #1 Dated July 18, 2000 a decision was made to deploy. I departed
Lakewood, CO on June 13, 2018 and traveled to Southeast Utah Group Headquarters (SEUG)
Moab, UT. to pick up equipment. I arrived at GRCA on June 14, 2018 at approximately 11:00
AM and proceeded to the Museum Warehouse and met with Colleen L. Hyde and Kim Besom.
GRCA Safety Manager Elston Stephenson arrived shortly afterward. After in-briefing with
Colleen and Kim, and short interview, | started a radiation survey as described below. After
confirming the presence of radioactive ore samples in the Museum Collection, the Parks decision
was to remove and dispose of the items of concern. Permission was received, to return these
items to the Lost Orphan Mine where they originated. This was accomplished on June 18, 2018.

Museum Collection:

A hasty survey was conducted of Archives Room cabinets, and three plastic buckets stored in the
warehouse. Results were positive for radioactivity above background as noted below:

1. 2.02mR/hr Outside building, sunny day background
2. 1.85 mR/hr — Inside building
3. 13.9mR/hr Between cabinet NB16 and NB18

A further survey of the rest of the Museum Collection Building, offices and storage areas were
negative for radioactivity above background, On Friday June 15, 2018 a second survey was
conducted to identify and segregate the items of concern from the museum Collection. Readings
were in keeping with the report of July 18, 2000 and these items were prepared for transport and
Case 3:19-cv-08268-DLR Document 47-3 Filed 10/16/20 Page 4 of 60

disposal.

Basement of Headquarters Building:

An in-depth survey of the basement area where Radioactive Ore samples were originally stored
was negative for radioactivity above background. No radiation issue noted.

Power House
An in-depth survey of the Grand Canyon Power House was conducted and was negative for
radioactivity above background. No radiation issue noted.

Conex Adjacent to Fee’s Building

This container is the storage location for Ore samples that are part of a legal proceeding. This
location has signage stating it is a Radiation Storage Area. There is minor activity above
background on contact of outside container wall. A key was not available for access so radiation
levels inside are unknown, Container offers good shielding and protection to employees.

Trail of Time

Trail of Time has several rock displays along its length, Entire trai] was surveyed and was
negative for radioactivity above background. No radiation issue noted.

Recommendations:

As defined in Title 10, Section 20,1003, of the Code of Federal Regulations (10 CFR 20.1003 ),

ALARA is an acronym for "as low as (is) reasonably achievable. This should be the standard
for exposure to any radioactivity. Grand Canyon by its location and surrounding geology has an

abundance of naturally occurring radioactivity.

By the nature of the items stored in the museum collection, there is still low levels of
radioactivity. Core samples stored in one of the cabinets should be controlled for exposure. Some
recommendations are:

1. No one under 18 years of age should be allowed to handle or work with these core
samples or anything known or believed to be radioactive. |
2. Consider relocating Core samples to an outdoor metal cabinet.
3. Real time digital Radon monitor for the Museum Collection archive room.
In addition to recommendations for the Museum Collection, I also recommend that the Conex
Case 3:19-cv-08268-DLR Document 47-3 Filed 10/16/20 Page 5 of 60

storage site be limited to Sample storage only, and not a combined use area. Access should be
limited/controlled.

All survey and monitoring was conducted with the following equipment:

Ludlum Model 3001 Serial Number # 25015388

Ludlum Detector Model 44-2 Serial Number # PR369634

Ludlum Detector Model 44-9 Serial Number # PR368091

Check Source Cs-137, CS72 Jan 2017

Certificate of Calibration Dated 6 OCT 2017, Calibration due 6 OCT 2018 Ludlum Industries.

Bill Bouley, Date
IMR Occupational Safety & Health Manager
Radiation Safety Officer
Case 3:19-cv-08268-DLR Document 47-3 Filed 10/16/20 Page 6 of 60
Case 3:19-cv-08268-DLR Document 47-3 Filed 10/16/20 Page 7 of 60

EXHIBIT D-3

_ Case 3:19-cv-08268-DLR Document 47-3 Filed 10/16/20 Page 8 of 60

Case 3:19-cv-08268-DLR Document 47-3 Filed 10/16/20 Page 9 of 60

United States Department of the Interior

NATIONAL PARK SERVICE
Iptermountaia Regional Office
12795 W. Alameda Parkway
P.O, Box 25287
Lakewood CO, 30228-2822

IMR-SHW

Memorandum

To: Superintendent, Grand Canyon National Park
From: IMR Occupational Safety & Health Manager .
Subject: Radiation Program Assistance

On or about June 11, 2018 this office received a request for assistance with a radiation issue at
your location. After reviewing supplied documents NPS-GCNP-RMC-01 Dated June 20-22,
2000, and Revision #1 Dated July 18, 2000 a decision was made to deploy. I departed
Lakewood, CO on June 13, 2018 and traveled to Southeast Utah Group Headquarters (SEUG)
Moab, UT. to pick up equipment. [ arrived at GRCA on June 14, 2018 at approximately 11:00
AM and proceeded to the Museum Warehouse and met with Colleen L. Hyde and Kim Besom.,
GRCA Safety Manager Elston Stephenson arrived shortly afterward. After in-bricfing with
Colleen and Kim, and short interview, [ started a radiation survey as described below. Afler
confirming the presence of radioactive ore samples in the Museum Collection, the Parks decision
was to remove and dispose of the items of concem. Permission was received, to return these
items to the Lost Orphan Mine where they originated. This was accomplished on June 18, 2018.

Museum Collection:

A hasty survey was conducted of Archives Room cabinets, and three plastic buckets stored in the
warchouse. Results were positive for radioactivity above background as noted below:

2,02 mR/hr Outside building, sunny,day, background .

1.85 mBV/hr Inside building

13.9mR/he Between cabinet NB16 and NBI8

800 mR/hr depending on the sample On contact with the ore sample inside the bucket
280 mR/hr to 320 mR/hr On contact with outside of bucket - lid sealed
0 above background Distance of 5 ft. from bucket

2.5 mR/hr - 3 mR/hr On contact with outside of metal cabinet, on a seam

Case 3:19-cv-08268-DLR Document 47-3 Filed 10/16/20 Page 10 of 60

A further survey of the rest of the Museum Collection Building, offices and storage ureas were
negative for radioactivity above background. On Friday June 15, 2018 a second survey was
conducted to identify and segregate the items of concern from the muscu Collection. Readings
were in keeping with the report of July 18, 2000 and these items were prepared for transport and

disposal.

Basement of Headquarters Building:

An in-depth survey of the bascment area where Radioactive Ore samples were originally stored
was negative for radioactivity above background, No radiation issue noted.

Power House
An in-depth survey of the Grand Canyon Power House was conducted and was negative for
radioactivity above background. No radiation issuc noted.

Conex Adjacent to Fee’s Building

This container is the storage location for Ore samples that are part of 'a Icgal proceeding. This
location has signaye stating it is a Radiation Storage Area. There is minor activity above
background on contact of outside container wall. A key was not available for access so radiation
levels inside are unknown. Container offers good shielding and protection to employees.

Trail of Time

Trail of Time has several rock displays along its length. Entire trail was surveyed and was
negative for radioactivity above background. No radiation issue noted.

Recommendations:

As defined in Title 10, Section 20.1003, of the Code of Federal Repulations (10 CFR 20.1003 ),
ALARA is an acronym for "as low as (is) reasonably achievable. This should be the standard
for exposure to any radioactivity. Grand Canyon by its location and surrounding geology has an
abundance of naturally occurring radioactivity.

By the nature of the items stored in the museum collection, there is still low levels of
radioactivity. Core samples stored in one of the cabinets should be controlled for exposure. Some

recommenditions are:

I, No onc under [8 years of age should be allowed to handle or work with these core

Case 3:19-cv-08268-DLR Document 47-3 Filed 10/16/20 Page 11 of 60

samples or anything known or believed to be radioactive.
2. Consider relocating Core samples to an outdoor metal cabinet.
3. Install real time digital Radon monitor for the Muscum Callection archive room.
In addition to recommendations for the Muscum Collection, J] also recommend that the Conex
storage site be limited to Sample storage only, and not a combined use area. Access should be

limited/controlied.

Equipment:

All survey and monitoring was conducted with the following equipment:

Ludlum Model 3001 Serial Number # 25015388
Ludlum Detector Model 44-2 Serial Number # PR369634
Ludlum Detector Model 44-9 Seria) Number # PR368091

Check Source Cs-137, CS72 Jan 2017
Certificate of Calibration Dated 6 OCT 2017, Calibration due 6 OCT 2018 Ludlum Industries.

BL hig iB aalg

Bill Bouley,
IMR Occupational Safety & Health Manager
Radiation Safety Officer

Case 3:19-cv-08268-DLR Document 47-3 Filed 10/16/20 Page 12 of 60

Case 3:19-cv-08268-DLR Document 47-3 Filed 10/16/20 Page 13 of 60

EXHIBIT S

4nareo20 HEASANA MMC HORASGGOD UR. sHOGUMAL A Code med, dGiidO/AQrnPAGS chth.Of,G0-stent investigations

Stephenson, Elston <elston_stephenson@nps.gov>

<2 EE, Wid ee we he eg ee ne ee

ey eT a ate pA

Stephenson Federal Court Material Vv DOUNPS - Falsified/Faked Aviation Accident
Investigations

ee ee ee Po Ll a= - a

Stephenson, Elston <elston_stephenson@nps.gov> Wed, Dec 11, 2018 at 7:28 AM
To: David Bemhardt <dwbermnherdt@ios.dol.gov>, Mark Greenblait <mark_greenblati@dolaig.gov>

Secretary Bemhardt, General Greenblatt

Good Moming.

Please receive this Motion that is before the U.S, District Court (Phoenix). And notification that | intend to take this to trial
to stop the stalking of me and other harassing, targeting conduct, And regrettably, | have had to tum away the much
appreciated IG Investigations to investigate the recent falsified 16E process end another bizarre extra-lGflegal
investigation targeting me because, although only a pre-law grad and not a lawyer; | could see that they presented at
least 4th, Sth, and 14th Amendment violation problems as the U.S. Attomey ts involved, and this matter is before a federal
court. This Is particularly true if the persons, processes, and ‘investigations’ Involved are deposed.

Sir, please also urgently know that | have encountered what appears to be 2 instances of ‘pencil whipping’ aviation
accidents. | have no Indication that this Is more widespread than the two that | have personally encountered.

Mi, Secretary, inspector General, respecifully, | promise You if we don't conduct serious, legitimate investigations thay
will not withstand the litigations which will accompany accidents like these which are statistically carlaln fo occur during
the upcoming, massive Transcanyon Pipsline construction—particularly in the case of serious injury or loss of life.

Reiuming to the court matter; Sir, unfortunately, the GRCA Depuly Superintendent committed several instances of perjury
wilh the U.S. Attorney's Office, and this federal U.S. District Court {Phoenix).

Sir, unfortunately, You will find in the Motion several other instances of felsifying statements and documents by the Deputy
Superintendent and Superintendent 2 along with instances of others; falsifying the uranium reports by IMR, falsifying the
16E Investigation by Superintendent 2, felsitying OSHA siatements and documents by Superintendent 2—nearly 2 dozen
instances of falsified statements in EEOC deposition/testimany by Deputy Superintendent that all paint a picture of a
cullure that | have been reporting to You viriually since joining NPS. These are Included to demonstrate and ‘walk the
Court’ through a ‘Pattem of Conduct’ which culminated with the GRCA Superintendent feeling confident, in his sense of
impunity to show up (stalk) my home In retaliation. And to Mustrate to the court the impropriety by stating the obvious; if |
were a female, no one would be arguing othenvise. He would likely ba out of a Job.

A court of law before a federal judge should firmly establish, find, and pronounce these, and the culture as fact.

Please, Sir; in addition to felonias, this culture of Joose integrity and looseness with propristy and the truth runs the risk of
getting someone Killed.

Indications are that NPS may be faking aviation accident Investigations. While this material Is not yet ready for court; this
70% local finding Is enough to beg for action In the Interest of preventing dramatic, potentially catastrophic accidents.

Sir, | have recently encountered serious problems with NPS' investigations’ of helicopter accidents. These problems;
namely that no one has gone to the accident scanes to conduct thelr ‘investigation’ or interview key witnesses may have
fed to Grand Canyon Nationai Park's most recent jettisoning—dumping 5,000Ies of piping from the alr onto the Park of
visitors below.

On October 7, 2019 a Kaman ‘KMax' K-1200 helicopter contacted 7.2kv/12.47kv powerlines with the loadline of the lift it
was attempting to extract from Grand Canyon's Indian Garden's pumping station which is responsible for providing water
to the entire Paric. The incidant knocked the computerized SCADA pumping sysiem offline and unable to pump water.
Video shows the pilot was in great distress with his aircraft. Likely exceeding the 25deg pitch limits. (video attached)

Just 21 days later, on October 28, 2019 a Boeing CH47 attempting to sling load 5,000\bs of water piping into ihe very
game Indian Gardens pumping station experienced ‘setiling with power'/vortex ring state and frantically dumped/jettisoned
the 5,000/b extemal load onto the Park below in an effort to prevent the huge aircraft fram crashing into the ground.

Suan. dL i fee fee NE. Le Ps AA Gd Ba ‘ sa All OH ba4 An sane S bee bees AO A sARAPAAa ale

4nia2020 EASA DOM RESO ER. SASS Fadi MEME LONGS/ 20 abeAGCu rin FQudtent investigations

Nearby are permanent rest spots and makeshift campsites/rest sites heavily trafficked by visitors. Luckily no one was
injured or killed. (video attached)

Sir, [hiked the 11 miles down and back to Indian Gardens te conduct my Investigation on October 26, 2019 when It
became clear that no serious investigation had been conducted—no ground witnesses (such as the ones filming the
video and reacting to the wire strike, the APS power company which Is troubled by this, or the responding SCADA expert)
had been interviewed. And most Imporiantly; no ‘investigator’ went to the site—even though the incident was
‘investigated’. What | found was shocking to any experienced or formally trained accident Investigator or aviator. The
landing zones (L2Zs) and pads were so overgrown with trees that lowering an extemal load was literally like threading a
needia. It was surrounded by trees at least 20-30ft high. The LZ pads ere literally covered with the shadows of the canopy
of the trees above. (video attached). At 3,290R MSL and accounting for DA; aircraft can easily be operating at conditions
ae rn feet—the ‘high’ of the venerable ‘hot, high, and heavy’ condition that helicopter pilots worry about.

The video shows that crews have been flirting with disaster by flying so clase to live electrical lines—likely for years.

More Importantly however, the trees force the helicopters (with their SOft lines + 10ft for loads) into ‘out of ground effect’
(OGE) noes devouring precious power (power required) and leaving little-to-no power available margin in case of
emergencies,

Conducting a serious Investigation—going to the accident scene/site of the first Incident would have resulted In the
changes that would have averted the second accident.

A legitimate, serious Investigation would have readily observed the trees as hazards and had them chopped down or
greatly trimmed.

When the CH-47 arrived, the trees forced the aircraft into a 90ft + OGE hover (50ft line + 10R load + 30M tree). According
to Hover Power Charts (attached) in the operator's manual (which depict 807 as the top of the IGE range); forcing the
alrcraft Into the overgrown LZ deprived it of the power available of 'in ground effect’ IGE (less power required) would have
provided. And would have taken less time (surgical skill) to place the load on the LZ,

Further, this task (delivering the piping) was an ‘audible’ hastily called for and with hastily/little planning. The deliberate
mission was delivering material to Phantom Ranch at the very bottom of the Canyon. The ‘low time’ in ‘type’ pilot had Just
earller been repeatedly landing loads at Phantom Ranch—a wide epen LZ with no obstacles and the ability to execute in
favorable IGE conditions. After several loads all day Jong, in favorable conditions in an LZ, litterally the size of a football
field, this inexperienced pilot likely developed a ‘muscle memory’. When suddenly tasked with landing a load in higher DA,
obstacied LZ, in OGE, ‘Negative Habit Transfer’ likely took over and this pilot in an aircraft which should never have had
power problems—and mechanically attampting the same maneuver exceeded the 300ft/min rate of descant neecied to
induce vortex-ring-state, and hastily ‘punched' his 5,000Ib load of piping to prevent crashing into the ground. Again-—with
hikers and campers all around Indian Gardens; it was only luck that someone below did not get killed.

Conducting a legitimate investigation, Instead of ‘pencil whipping or ‘desktop Investigating’ on October 7, 2019 would have
eliminated the trees and prevented the October 28, 2019 accident. A simple look at the charts shows thal 10-15% power
required (IGE) to hover could have been reduced. Keeping the pilot out of the near 100% power required (OGE)—and
necessary for settling with power. And wasting IIkely thousands of dollars in last material,

Sir(s), as | continue my invesiigalion, | have found that ihe local power company, APS, has and has besn harboring
serious Concems—apparently for years concaming our dangerous operations around the live Indian Garden powerlines.

This ‘settling with power’ Incident was entirely preventable, and is precisely among the potentials that | addressed In the
‘white paper that | wrote for NPS to address the upcoming onslaught of helicopter lift operations as part of the
Transcanyon Pipeline Project. (attached). Again, Sir; it was only luck that no one got hurt or killed. Clearly, the pilot and
ground crew mentioned and were concemed enough about the trees to continually mention them as they attempted this
surgical maneuver. (video attached)

The CH-47 clearly and terrifyingly exceeds the 130° pitch limit. The KMax exceeds or comes close to exceeding
the £25° pitch limit. (attached)

At the very least, having failed to conduct 2 proper accident scane Invesligation in the first Instance, any formally trained,
expériencad, expert investigator would certalniy conducted a proper accident scene investigation afler two consecutive
accidents at the exact same LZ less than 3 weeks later. Even a non-investigater layman would have begged the question
"Whal the heck Is gotng on at that LZ?!"

-Of 9 A 2 RRA O88 2A 8 oan ee a One aid

idk. MeN eel 2 I a eb dd Leren_3o.3 ao “ no
Case 3:19-cv-08268-DLR Document 47-3 Filed 10/16/20 Page 16 of 60

1/13/2020 DEPARTMENT OF THE INTERIOR Mall - Stephenson Federal Court Materlal v DOUNPS - Falsified/Faked Aviation Accident Investigations
| have been veiting my findings with experts—namely the professionals at the Naval Safety Center's School of Aviation
Safety, and others that | know. | particularly wauld IIke to get with the Aviation Aeromedical team to assess tho repetitive
task saturation and the onset of ‘Negative Habit Transfer (which fills the annals as root cause analysis of crashes)
introduced by having that CH-47 pilot repeatedly, conducting open LZ, favorable PA/DA IGE conditions all day long, than
being called Into a ‘hey you' hasty mission Into more difficult conditions. Unfortunately, the School of Aviation Safety
building Is the site of the last week's Pensacola mass shooting. Luckily none of tha SAS staff was injured. But it will take a
while to complete my investigation and analysis,

Respectfully, applying HFACS (attached); we may see this again with the huge Transcanyon Pipeline construction,

Sir, it may also be that those tasked with Investigating aviation accidents have nalther the technicat knowledge, forme!
fraining, or experience to be tasked with conducting such vital investigations. At ell rates: the absence of a serious,
thorough, professional Investigation inarguably denias aviators and the aviation community vital lessons learned so as to
prevent ‘repeals’. This is & crucial legacy ethos of the aviation community 2s expressed in the ‘white paper’.

Again Mr. Secretary, Inspector General, raspectfully, | promise You if we don't conduct serious, legitimate Investigations
they will not withstand the litigations which will accompany accidents like these which are statistically certain to occur
during the upcoming, massive Transcanyon Pipeline construction—particularly In the case of serious Injury or loss of fifo,

Mr. Secretary, Mr. Inspector General, respectfully, my hope Is that all can agree thal the videos—having helicopters
dancing with live powerlines and raining thousands of pound of eteel (or whatever) without warning on Grand Ganyon
National Park and Its visitors and workers Is unacceptable,

Sir, [keep running Into these lapses of Integrity. Respectfully, they do not just pose moral Imperatives, but safety as well.

Thank You, Sir,

Sinceraly,
Elston

Elston L Stephenson, OHST
Safety Health & Wellness Manager
Tort Claims Officer

Grand Canyon National Park
928-255-8727

ps. Sir, please allow me multiple sends because of the size of allachments—such es the audio and video files

p.&.).8, Sir, | will include my qualifications to validate my credentials along with 22 years as a safety expert and 19 years
as an aviation accident Investigation expert from which | make my assessment.

42 attachments

D0 Supppeneon Affidavit -17.7 Video Helicopter Incident.3gp
464

Dp Stephenson GRCA Helicopter Accident Invest - Indian Gardens Elevated View.3gp
972K

0 Stephenson GRCA Helicopter Accident Invest - Indlan Gardens Site Ground Level.3gp
962K

® Stephenson Case 3-19-cv-08268-DLR Stip for Extension (Full without MTD)(12-3-2019).pdf
7347K

B Stephenson - White Paper Pipeline Aviation Safety.pdf
AZik

z cerereon GRCA Helleopter Accident Invest Diagram (indian Gardens).paf

Stephenson GRCA Helicopter Accident Invest - CH-47 Hover Power Chart (Dash -10).pdf
71K

eG
1igv2020 sae CHSETRIDI-OVFASID Cty BH san - AGA Aabee( CO Falah PSUR P atshacdlt Sead ADR Qccident Investigations

a panes K-MAX_K-1200 Operator's Manual (Limits Excerpt).pdf

Bz re. ot -1520-240-10 (CH-47D Operator's Manual)(Limits Excerpt).pdf

@ ee ee - Degrees + Safety Certifications 2.pdf

@) Seinen + Safaty Certifications 1.pdf

KHtne-Jimall ananla anesiraasllh Jeb Fad FON 6. dn.
Case 3:19-cv-08268-DLR Document 47-3 Filed 10/16/20 Page 18 of 60

EXHIBIT X-35

Case 3:19-cv-08268-DLR Document 47-3 Filed 10/16/20 Page 19 of 60

Medtronic Emergency Response Systems
Hel Willows Road NE

PG. Box 97006

Redmond, WA 98076-9706 USA

www.medtron ic-ers.cam

rc toll free 800.442.1142

Alleviating Pain + Resioring Health Extending Life tel A25.867 4000

Dear Valued Customer,

Created by Physio-Control, a division of Medtronic, the LIFEPAK® 500 automated external defibrillator
has been the premier, top-of-the-line defibrillator for public safety professionals and first responders
since 1997. As of January 26, 2007, Physio-Control will discontinue the LIFEPAK 500 AED product
line. However, we remain committed to supporting LIFEPAK 500 AEDs by offering service and parts
replacement for at least the next seven years after discontinuation.

While supplies last, you can order the LIFEPAK 500 AED (catalog numbers 99401-001083, 99401-
001085) and LIFEPAK 500 DPS AED (catalog numbers 99401-001087 and 99401-001089) by contacting
your local sales representative or our customer support team at 1-800-442-1142. All new units shipped
will be consistent with the new AHA Guidelines 2005. Guidelines 2005 upgrade kits are also available
for existing, biphasic LIFEPAK 500 units. For more information on Guidelines 2005 upgrades, log onto
www.acdhelp.com/AHA.

You are a valued customer. A LIFEPAK defibrillator backs you with a strong legacy of Physio-Control

quality and reliability. Our ultimate goal is to “work as one” with responders around the world to continue
to save more lives,

Sincerely,

bia

Brian Webster, President

Case 3:19-cv-08268-DLR Document 47-3 Filed 10/16/20 Page 20 of 60

EXHIBIT X-20

Case 3:19-cv-08268-DLR Document 47-3 Filed 10/16/20 Page 21 of 60

Case 3:19-cv-08268-DLR. Document 47-3 Filed 10/16/20. Page 22 of 60

EXHIBIT G
Case 3:19-cv-08268-DLR_ Document 47-3 Filed 10/16/20 Page 23 of 60

MS Ate eye)

OFFICE OF
s INSPECTOR GENERAL

J U.S.DEPARTMENT OF THE INTERIOR

UNFOUNDED ALLEGATIONS OF
IMPROPER LEADERSHIP DECISIONS
AND HOSTILE WORK ENVIRONMENT
AT GRAND CANYON NATIONAL PARK

This is a revised version of the report prepared for public release.

ded ole) mul bc Ul nalorsigeal toil lists)
Case 3:19-cv-08268-DLR Document 47-3 Filed 10/16/20 Page 24 of 60

SYNOPSIS

We investigated allegations that Grand Canyon National Park (GRCA) Superintendent Christine
Lehnertz proposed a 1-day suspension for a GRCA senior official for an improper purpose; that
she created a hostile work environment and engaged in bullying and retaliatory behavior against
senior leaders, particularly male leaders, at the GRCA; and that she wasted nearly $180,000 in
renovations to a park residence.

We found that Lehnertz legitimately proposed a 1-day suspension for the GRCA senior official
for “Failure to Follow Supervisory Instruction” because the official did not provide Lehnertz a
copy of an Employee Performance Appraisal Plan (EPAP) for one of his subordinate employees,
despite multiple requests; did not provide written reports as requested by Lehnertz related to a
high-priority initiative at the GRCA; and did not attend a scheduled meeting related to that
initiative.

We found no evidence that Lehnertz created a hostile work environment or that she wasted
nearly $180,000 in unnecessary renovations to a park residence.

We provided this report to the National Park Service Deputy Director Exercising the Authority
of Director for any action deemed appropriate.

DETAILS OF INVESTIGATION

We investigated allegations that questioned Grand Canyon National Park (GRCA)
Superintendent Christine Lehnertz’ leadership at the GRCA. The allegations stated that Lehnertz:

e Proposed a |-day suspension for a GRCA senior official for an improper purpose

e Created a hostile work environment and engaged in bullying and retaliatory behavior
against senior leaders, particularly male leaders, at the GRCA

e Wasted nearly $180,000 in renovations to a park residence

Lehnertz Proposed Suspension of a GRCA Senior Official for Legitimate Disciplinary
Reasons

We found that on August 31, 2018, Lehnertz proposed a 1-day suspension without pay against
the GRCA senior official for “Failure to Follow Supervisory Instruction.” According to
Lehnertz, the senior official did not:

1. Provide an employee performance appraisal plan (EPAP) for a subordinate employee as
requested

2. Provide Lehnertz written progress reports regarding a high-priority park initiative as
directed

3. Attend a required meeting to discuss development options for the initiative or request
Case 3:19-cv-08268-DLR Document 47-3 Filed 10/16/20 Page 25 of 60

approved leave
The Senior Official Did Not Provide an EPAP for a Subordinate Employee as Requested

The GRCA hired the senior official’s subordinate employee on June 25, 2017, with a 1-year
probationary period. The employee initially reported to Lehnertz but was transferred under the
senior official’s supervision in September 2017. Lehnertz said that at that time, she told the
senior official he needed to complete a performance review and create an EPAP for the
subordinate employee.

The DOI Performance Management System (370 DM 430) requires that a supervisor establish a
subordinate’s EPAP within 60 days of the beginning of the appraisal period, the employee’s
entrance on duty, the assignment of an employee to a new position, the assignment of an
employee to a new or different supervisory position, or the assignment of an employee to a detail
or temporary promotion scheduled to exceed 120 days.

Lehnertz said she asked the senior official for a copy of the subordinate employee’s EPAP
during meetings on June 25, 2018, and June 29, 2018, and by email and text message on July 2,
2018. Lehnertz said the senior official responded to each of her requests that he had an EPAP for

the employee.

In the July 2 email, Lehnertz asked the senior official to provide her a copy of the signed EPAP.
“first thing this morning.” Lehnertz said the senior official told her he was “working on it,” but
the signed EPAP was not on her desk when she arrived at the office on July 3. Later that day,
Lehnertz asked the senior official again in an email if he had a signed EPAP for the subordinate
employee.

The senior official responded to Lehnertz on July 6, stating, “After further review, | do not have
a signed EPAP [for the employee]. . . . In our discussions, | was sure that I had one signed. . . . |
was quite sure I had him sign the EPAP developed. Yes Chris, you did direct me to provide you
a copy ofa signed EPAP. My apologies for not complying with your directive.”

On July 10, 2018, Lehnertz emailed an NPS regional manager stating she (Lehnertz) needed to
take a disciplinary action against the senior official because he was not truthful about the signed
EPAP. Later that same day, the senior official emailed the NPS regional manager, stating his
belief that Lehnertz had lost objectivity regarding the subordinate employee.

The NPS regional manager said she talked to the senior official in July 2018 and told him to sign
an EPAP for the subordinate employee immediately and that Lehnertz could hold the senior
official accountable if the subordinate employee did not have a signed EPAP. According to the
NPS regional manager, the senior official never completed the EPAP in response to Lehnertz’
requests.

The Senior Official Did Not Provide Lehnertz Written Progress Reports Regarding a High-
Priority Park Initiative

Lehnertz said developing this high-priority initiative was important not only to the GRCA but
Case 3:19-cv-08268-DLR Document 47-3 Filed 10/16/20 Page 26 of 60

also to the NPS. She said she assigned the senior official to lead the initiative in November 2017
and authorized and directed him to work with human resources to hire someone to fill a 1-year
detail to help him develop it.

Lehnertz said that in February 2018, she had not seen any progress on the initiative, so she told
the senior official they needed to meet every Monday to discuss the status. In addition, Lehnertz
requested that the senior official provide her with written progress reports each week when they
could not meet in person. Lehnertz said that over the next several weeks and months, the senior
official inaccurately represented that the initiative was moving forward and that he did not
complete the written reports as directed. Lehnertz said the senior official did not provide written
reports on seven or eight dates; the Notice of Proposed Suspension listed February 5, 2018; April
2, 2018; April 9, 2018; April 16, 2018; April 30, 2018; May 14, 2018; June 25, 2018; and July
23, 2018.

According to Lehnertz, because the senior official did not make progress on developing the
initiative, she hired an NPS regional director on a detail to the GRCA in September 2018 to
develop it.

The Senior Official Did Not Attend a Required Meeting or Request Approved Leave

On May 16, 2018, Lehnertz emailed the senior official stating that he had not completed progress
reports for the initiative for May 7 and May 14. She directed him to prepare to discuss options
for development at their next regularly scheduled meeting on May 21. According to Lehnertz,
the senior official did not attend the meeting, so she emailed him on May 22 stating that he did
not attend the scheduled meeting and did not send her any text messages, voicemails, or emails
regarding his absence. Lehnertz also wrote that the senior official must submit written updates to
her and asked him how she could help or if there were barriers in their communication and
understanding. The senior official did not reply to Lehnertz’ email. Lehnertz stated that when she
talked to the senior official about his absence from the May 21 meeting, he said, “I don’t recall
that.”

Lehnertz Proposed a 1-Day Suspension for the Senior Official

In August 2018, Lehnertz discussed her concerns about the senior official with a GRCA human
resources specialist. The human resources specialist provided Lehnertz three different notices,
with discipline ranging from a written reprimand to a 3-day suspension.

Lehnertz said that before taking action against the senior official, she met with the senior official
on August 31, 2018, to give him an opportunity to explain his actions related to his subordinate
employee’s EPAP and progress reports for the high-priority initiative. According to Lehnertz, the
senior official said he had not completed the EPAP because he did not think it was his
responsibility. Consistent with the advice the NPS regional manager had provided to the senior
official in early July, Lehnertz said she reminded the senior official that the standard supervisory
element of his performance plan required him to complete an EPAP for each of his subordinate
employees. We found that the senior official’s 2017 EPAP stipulated that he communicate
performance standards that reflect job requirements to subordinates, give appraisals in a timely
manner, and establish performance plans for the current year according to human resources
Case 3:19-cv-08268-DLR._ Document 47-3 Filed 10/16/20--Page 27 of 60

guidance.

Lehnertz said the senior official also told her he did not provide updates for the initiative because
he did not think the GRCA needed it.

Based on the senior official’s responses during the August 31 discussion, Lehnertz said she
decided to propose a 1-day suspension for the senior official.

The Senior Official’s Response to the Proposed Suspension

On October 3, 2018, the senior official met with an NPS regional director to orally respond to the
proposed suspension. According to the regional director, the senior official said he did not
provide a signed EPAP for his subordinate employee to Lehnertz because he believed Lehnertz
would use the EPAP to terminate the employee. During his oral response, the senior official said,
“I did not, would not, and will not, provide it to her so that she can use it as a weapon.”

The senior official also told the regional director that he had reported his concerns about
Lehnertz’ requests for the EPAP to the U.S. Office of Special Counsel (OSC). According to the
senior official, Lehnertz proposed the 1-day suspension because the senior official did not
provide the EPAP to further the subordinate employee’s termination. The senior official
provided us copies of two OSC pre-determination letters, dated October 10 and October 15,
2018. In both letters, the OSC determined that an order to prepare an EPAP would not require
the senior official to violate a law because it is routine for supervisors to prepare such
documents. The letters also stated it was speculation by the senior official that Lehnertz would
use the EPAP for an improper purpose. In each of the two letters, the OSC made a preliminary
determination to close its inquiry into the senior official’s complaint.

When we interviewed the senior official, he confirmed that Lehnertz had asked him for his
subordinate employee’s EPAP in June 2018. He said he initially told her he had it, but later told
her he did not. The senior official stated he did not want to give the EPAP to Lehnertz because
he thought Lehnertz would use the EPAP to terminate the subordinate employee.

We also asked the senior official about the progress reports for the high-priority initiative. The
senior official told us he had previously admitted to the NPS regional director that he provided
verbal updates but did not always provide the written reports to Lehnertz as directed. When
asked why he did not provide the reports, the senior official replied, “I just didn’t get to them at
the time of the meeting.”

Finally, in his oral response to the proposed suspension, the senior official stated his calendar
indicated he was in Flagstaff, AZ, on May 21, 2018, at an annual review for the concessioners
and that Lehnertz’ calendar did not have any appointments scheduled for that date. The senior
official said he did not recall if he took leave that day. When we asked the senior official about
this meeting, he stated, “I’m still confused of the date, the circumstance of what may or may not
have happened.” The senior official later provided a copy of his calendar for May 21, 2018,
which showed a meeting scheduled at 4:00 p.m. for updates related to the initiative in “Chris’s
Office.”
Case 3:19-cv-08268-DLR Document 47-3 Filed 10/16/20 Page280f60.

We confirmed that the senior official was not on leave on May 21, 2018, and that he claimed 8
regular work hours on that day.

Lehnertz Did Not Create a Hostile Work Environment at the GRCA

We interviewed 20 GRCA employees who worked directly with Lehnertz. Of those 20
employees, 15 were senior managers and 5 were nonsupervisory employees. Most of the
employees indicated that Lehnertz was generally liked at the park and reported that Lehnertz did
not treat men or women differently and held everyone to the same standard.

During our interviews, five employees—four managers and one nonsupervisory employee—
expressed they had encountered differences and conflict with Lehnertz on occasion. Despite
these occasions, four of these five employees identified positive aspects of Lehnertz’ leadership
and acknowledged that she championed an “inclusive and respectful” environment. The fifth
employee stated that she had expressed concerns about her first-level supervisor to GRCA
management and said the way Lehnertz handled her concerns caused her to mistrust GRCA
management. Some managers observed that Lehnertz “drilled down” for information, explaining
that she continuously asked questions to gather information if the presenter seemed ill-prepared
or provided incorrect information, which made them feel “intimidated” at times.

Lehnertz said a colleague from the Pacific West Region made her aware that when she drilled-
down for information, it felt like an accusation, rather than an inquiry. She added that a manager
at the GRCA felt nervous when she asked many detailed questions. Lehnertz said that instead of
discussing it with the manager individually, she discussed her management style with the GRCA
management team and conveyed that “when I’m really getting into something, I’m gonna ask
more and more detailed questions. And that it’s okay to say, ‘I don’t have that information, but
I'll get it.’” Lehnertz added that one of her personality traits is to drill “really deep on a question’
when she is stressed and that she told the GRCA management team that she would try to “check”
herself.

3

Lehnertz Did Not Authorize Unnecessary Renovations to a Park Residence

On July 20, 2017, Lehnertz emailed GRCA managers informing them that she had toured the
residence at 45 Kaibab Street in preparation for advertising the position for a deputy
superintendent for operations. In the email, Lehnertz stated the home would be an important
recruitment tool for the position. Lehnertz listed 19 deficiencies that she had identified during
her walk-through, ranging from smaller issues like removing a coat rack in the entry hall, to
larger projects like updating the kitchen and removing all carpet from the house. Lehnertz said
that after informing the managers of the deficiencies, she was no longer involved in the
renovations, except to request that the GRCA architect assist with the kitchen redesign.

An NPS housing official told us he managed the renovation project, to include resources,
materials, personnel, and budget, and he did not have to obtain higher supervisory approval. The
housing official said he inspected the house after the previous occupant moved out and made a
list of necessary renovations. He recalled that Lehnertz’ July 20 email included a list of updates
for the house and that it instructed the housing official to coordinate with another NPS manager,
who was on detail assignment. The housing official said most of the items referenced in

Case 3:19-cv-08268-DLR Document 47-3 Filed 10/16/20 Page 29 of 60

Lehnertz’ email matched the list he had generated.

The housing official said he did not receive any further direction from Lehnertz about the
renovation after receiving the July 20 email. He said he provided weekly status reports to
management, which included Lehnertz, about all maintenance projects, He said neither the
incoming deputy superintendent nor Lehnertz attempted to direct him to complete any aspect of
the renovation.

According to the housing official, the renovation at 45 Kaibab Street began in August 2017 and
ended in April 2018. He explained that the renovation took longer than anticipated because of
unexpected safety issues, such as out-of-code electrical wiring, an underrated circuit breaker box,
no fire alarm system, structural issues, and a sagging roof and doorways. The housing official
estimated the house was built in 1978, and said it appeared to have been built in stages because
one side of the house was heated with a propane furnace and the other was heated by electric
baseboards. He said he used his staff, trail personnel (for landscape work), an electrician, and a
seasonal carpenter (former NPS employee) to complete the renovation. The housing official
provided documentation showing that the labor costs for the renovation were $135,192.83 and
the cost of materials was $30,733.07, for a total renovation cost of $165,925.90.

When asked, the housing official told us that the renovations to 45 Kaibab Street impacted his
employees’ ability to work on other houses. He explained that he tried to keep the number of
vacant homes below 35, and that when this renovation was completed, the number of vacant
homes totaled approximately 50. The housing official noted, however, that because of the
number of vacancies and hiring problems at the GRCA, he did not recall employees contacting
him about needing a house during that time.

A GRCA maintenance employee, who worked directly on the housing project, told us that 45
Kaibab Street was “decent” and “livable” before the renovations, but he noted that after the
renovations began, the maintenance crew found structural damage that needed repair. The
maintenance employee said the renovations were needed to replace original work that had been
completed in 1972. The renovations included installing a new kitchen, hardwood floors
throughout the house, new stairs, vanities in two of the three bathrooms, and new toilets and tiles
in all three bathrooms, and replacing the wiring throughout the house. He said the work also
included opening the walls and ceiling in the kitchen, during which they identified and repaired
structural deficiencies. The maintenance employee said all renovations were needed and none
were unusual. He added that the costs were reasonable based on the work performed.

SUBJECT
Christine Lehnertz, Superintendent, Grand Canyon National Park, National Park Service.
DISPOSITION

We provided this report to the National Park Service Deputy Director Exercising the Authority
of Director for any action deemed appropriate.
Case 3:19-cv-08268-DLR Document 47-3 Filed 10/16/20 Page 30 of 60

Report Fraud, Waste,
and Mismanagement

Fraud, waste, and mismanagement in
Government concern everyone: Office
of Inspector General staff, departmental
employees, and the general public. We
actively solicit allegations of any
inefficient and wasteful practices, fraud,
and mismanagement related to
departmental or Insular Area programs
and operations. You can report
allegations to us in several ways.

By Internet: = www.doioig.gov

By Phone: 24-Hour Toll Free: 800-424-5081
Washington Metro Area: 202-208-5300

By Fax: 703-487-5402

By Mail: U.S. Department of the Interior
Office of Inspector General
Mail Stop 4428 MIB
1849 C Street, NW.
Washington, DC 20240

“Case 3:19-cv-08268-DLR.. Document 47-3 Filed 10/16/20. Page 31.0f60..-

EXHIBIT X-24

Case 3:19-cv-08268-DLR Document 47-3 Filed 10/16/20 Page 32 of 60

Pog

Traveler Name (Last, First, Ml): |STEPHENSON, Elston

Travel Authorization #: TANUMOOOOUJPQ,

Permanent Duty Station: Grand Canyon NP, AZ

TDY Travel Location(s): San Diego, CA

: i ' ' aueuechne
Primary Mode of Transportation (Enter only one): Primary Mode of Transportation (Enter only one):
|Number of Travelers: 1 Number of Travelers: 1
Trip Start Date: 10/29/2017 Trip Start Date: 10/29/2017
Trip End Date: 11/3/2017 Trip End Date: 11/3/2017
: Sasi pesca yeeciiene,

Transportation Costs Transportation Costs

1[Ticket/Fare Price [S$ - | xwtraveters] 2 [=/5 . 1 |Ticket/Fare Price |S 466] xAtravelers| 1 | = [S$ 465.60

2 [Booking Fee ={/$ - 2 [Booking Fee =|$ 8.26

3 [Number ofMiles | 1150 | atSpermile|$ Of =|$ 195.50 3 |Numberof Miles | 180 | atSpermie}S 1] =] 5 95.40

4 {Parkin els . 4 {Parking =1/5 Z

5 Tran / Shuttle =/5 . 5 |Taxt / Shuttle #15 .
Other Costs Other Costs

6 |Lodging (see Per Diem Worksheet) =|$ 425.00 6 |Lodging (see Per Diem Worksheet) ={5 425.00

7 |M&IE (see Per Diem Worksheet) =/5 352.00 7 |M&IE (see Per Diem Worksheet) 2/5 352.00

8 |Other 1 (identify =|5 - 8 |Other 1 (identify) ={5 :

9 [Other 2 (identify =/s - 9 {Other 2 (identify) ={5§ :
Total Cost (sum of all lines above) $ 972.50 Total Cost (sum of all lines above) $ 1,346.26
Comments: Please explain any costs that should be taken Into Comments: Please explain any costs that should be taken into
consideration when comparing Itineraries. consideration when comparing Itineraries.

Flight from Flagstaff - San Diego estimate from CONCUR.

GOVorPOV? GOV avall-use.17 rte No parking cost In Flagstaff
POV at high rate to keep GOV frorn sitting at airport

| certify that | used the electronic travel system to obtain the above cost estimates, and that all of the information included in this form Is accurate and
complete. | acknowledge that, by siggfing this form, | agree to be reimbursed for the total cost of the less expensive itinerary and will seek no additional

payment to re¢oup the difference ig cost between the two itineraries.
ehh) Lf, Ke, fafo.o8

Traveler Ygnature i / Date ¢

I certify that the travetar compleged this form in accordance with DOI / Bureau policy, and authorize the use of the following itinerary ("X" one):
Itinerary 1:

Itinerary 2:
lf a includes personal leave, | hereby authorize the traveler to complete the personal deviation in conjunction with his / her official travel,

mae —~ pee ae Lf 3s/ Lx

if i Date

19-cv-08268-DLR Document 47-3 Filed 10/16/20 Page 33 of 60

Case 3

LeOGe ‘SesuadNy Waid Jad-UON [LOL

Jape,

suOQeMasey ON

wid PUE BiED fang Jag INOge: OU Lupp eeAoptwy AOD 20}
Jad Of) “SLY OL, WING) UO (SoUEpISel PUT) Wt aepuRe, ul pete;

cul dg duy saday

WISANAION suopeZURDIG

JeyONDA, [EULS

SuoIssHuy

J200 $n ouaun

ROWS quauieg 7505

SUL) 'F a1eg

NOSNBHASLS NOLSTS -2ueN Jeyeney

~ i PISUNDOG pUSWNIOG S50)7}
ean TRMQNS y TASY aye
i “3

#833 1399.

AsoBayeD asuadx3

OO SEL) :Sasuedxy wong Jag 10,

vo Gurtporwep
puawy AOS Surg

squsWWOD du

ZLOEASONE - LEOTECI0E “Sale pane

EEPELDOr OO) 4aieAey

uonese7 Guiipe7 is05

w (OOP ETOFSIOUSS EL vw apd
 uondusseq esuadxg=seaumog,— (titi TY SHINE
e120 Sasuadxy
TL Ol ed seq JIU DO pus, adAL bonPASSay

SUOeuasay \-

Tb LEO WO squepUaNY
OPS OO CLE LSE ZWD STYOW Td BUI
Lin PEEL! WO OD3I0 suepuaay
Fg! 00 LENE LbeggL NS Cue 1
1809 serty Wag. Jed ol wioly uoneI0]  esoding ‘ON ery
paewHsy (aun) uopeso7 du
SHe1ag JuaUINI0g
CNL UU WL

J UOREWOJU] JUaWNDOG \

S780 JOJQABLL

ane) (OP NGO0OINNYL) LNEOO00AL SHO

SJAUINOA,

SYINOA, MESS JeYONO/, MAA SIBYINO/, Ma,

ee icral ited

nvelot-( ate), lose) “>

pdaysT uosusydays |

Apeuuans,

NOSNSHISLS NOLS TS eed

paleiossy MalA

SISLNY, PRIEDSSSY we

v iz

M 7-7) 6osa uos:

Heuey\jSher] /WoxsuognosunucTeGo By Qo

v SOP E SINS SMT Asy fy

>

“OQ - Tug Uosusqdars - apy EBD
Case 3:19-cv-08268-DLR Document 47-3 Filed 10/16/20 Page 34 of 60

VE LPS FE GS OL PE Pe RP Oe A ee Yeu Re RR PEE PU ne Vee Go Beno

FLAGSTAFF, AZ TO SAN DIEGO, CA
SUN, OCT 29 - FRI, NOV3

Hide matrix Frint / Email

All
20 results

Lowest Published
26 results

Shop by Fares Shop by Schedule

“e

American
Airlines
465.60
6 results

For complete selection of avallacie fares, click the Show Fares link and click the View More Fares butten

Flight Number Search

« American 07:00a FLG

Airlines

Least Cost Logieal Fare,

~ Amergen 10:20a FLG

Airlines

Least Cost Logical Fare

211:48a SAN

12:45p SAN-+04:21p FLG

,03:13p SAN

12:45p SAN °04:21p FLG

Qa Sorted By: Polloy - Most Compliant |

1 stop PHX

1 stop PHX

1 stop PHX

1 stop PHX

4h 48m

3h 36m

4h &3rn

3h 36m

H
Multiple

1,473.60
14 results

Displaying 20 Sut Sf 20 raguire
Previous 12 Mext | Ali

Lesser policy violation

Show all danails »

Lesser policy viclavon

Show all dotaila +

ORF Ree ROR ARRARROR ES gRFKEE RANE EE Se EAR PROSE FE KORE Oe BE e RERE FREER ROP RERSE RARE pFREE WEEE EEN bReam REE Gus Puree EeH Renee Rete teens Rear

PHOENIX, AZ TO SAN DIEGO, CA
SUN, OCT 29 - FRI, NOV 3

Hida matrix Print / Emali

fsa
All Southwest
406 results
270.40
Govt. Contract Discounted 51 a
Si requite 7
38240
Govt. Contract >

104 results
104 results

708.00
Non- Contract. Government 109 results
185 results
294,56
Lowest Published Ms pecuite
60 results
Shop by Fares Shop by Schedule

‘* a
American Multiple
Airlines
270.40 279.00
8 results 55 results
368.06 368.00
6 results © results

Delta

343.60
9 results

456.60
1 results

For complete selection of avaliable fares, click the Show Fares link and click the View More Fares Sutten

Flight Mutnber Search

09:45a PHX — 10:55a SAN

F_4 Southwest

11:3048 SAN >» 12:40p PHX

Gove fare(s) available / Least Gost Logical Fare

09:45a PHA + 10:55a SAN

Fa Southwest

09:25a SAN 10:35a PHX

Govt fara(s) avaliatie / Leatr Cost Logical Fara

| Somed By | Policy - Most Compliant |

Nonstop

Nonstop

Nonstop

Nonstop

mi es
United Alaska
Airlines
361.60

4 results =

442.40
4 repults

376.60
4 results

Displaying 282 cut of 206 renult @

Previous | Page 1 of 20 | Ment | Ali

Th 10m
Th 10rn

Th 10rn

Th 10m

$270.40

Show all details

$270.40

ees ae Le

Show all detail: +
Case 3:19-cv-08268-DLR Document 47-3. Filed 10/16/20 Page 35 of 60

40/19/2017 Grand Canyon Village, AZ to San Diego Directions - MapQuest

YOUR TRIP TO:
San Diega \O: | q “| 7 @ &

we “| i650 RT IDoC lot i,
sl Q)\ON anil

S8HR40MIN | 575MIl &

Est. fuel cost: $44.10

Start of next leg of route 7 35 No y

4rn/
© 1. Start out going north on Maswik S toward Maswik Laundry Rd. Ava ih
& AYIA

r 2. Take the 1st right onto Maswik Laundry Rd.
if you are on Aspen Rd and reach Cliffrose Rd you've gone about 0.7 miles too far.

Then 0.05 miles 0.05 total miles

4 3. Turn left onto Maswik Lodge Rd.

Then 0.07 miles 0.12 total miles

P 4. Take the 1st right onto S Village Loop.

If you are on § Village Loop and reach Cliffrose Rd you've gone abaut 0.7 miles too
far.

Then 0,13 miles 0.25 total miles

4 5. Take the 2nd left to stay on $ Village Loop.
S Village Loop is just past Victor St.

Then 0.23 miles 0.46 total miles

P 6. Take the 1st right onto Center Rd.
Center Rd is just past Village Loop Byp.

If you reach Navajo St you've gone about 0.1 miles too far.

Then 1.61 miles 2.09 total miles

P 7. Turn right onto US-180 E/AZ-64,
US-180 E is 0.4 miles past Market Plaza Rd.

Then 4.37 miles 6.46 total miles

( 8. Enter next roundabout and take the 2nd exit onto State Route 64/US-180 E/Az-
64.

Then 0.65 miles 7.11 total miles

~ 9. Enter next roundabout and take the 1st exit onto AZ-64.
Then 49.71 miles 56.82 total miles

hte fhansas mmanniios? sam/Alrastane list DhisinwiaeanA nanuan Uillanaiahinlianiaanm disas
Case 3:19-cv-08268-DLR Document 47-3 Filed 10/16/20 Page 36 of 60

SAN DIEGO BEAGH & BAYVIEW COTTAGES

LX Y SAN DIEGO, CA 52147
PM @ 619-495-1227 Account: 50010128090

Me Gae Arrival: 10/29/2017
Departure: 11/03/2017
STEPHENSON, CW4 ELSTON Rate: 4140,00
Room: NoO9
41551 BENTANA DOR
PALMDALE, GA 93551

DATE DESCRIPTION COMMENT CHARGE/PAYMENT BALANCE
aa

~10/29/2017 1020 MG PAYMENT MG PAYMENT $-700.00 $-700.00
10/29/2017 4000 ROOMCHARGE #NOO9 STEPHENSON, CW4 ELS” $140.00 §-560.00
10/30/2017 4000 ROOM CHARGE #N009 STEPHENSON, CW4 ELS" $140.00 $-420.00
10/31/2017 4000 AOOM CHARGE #N009 STEPHENSON, GW4 ELS” -$146.00 §-280.00
11/01/2017 4000 +=ROOM CHARGE #N009 STEPHENSON, CW4 ELS* $140.00 $-140.00
11/02/2017 4000 ROOM GHARGE #NO09 STEPHENSON, CW4 ELS” $140.00 $0.00
BALANCE DUE: $0.00

Stephensan hod my

Signature:

| agree that my tiability for this bill is not waived.
Case 3:19-cv- :
Case 3:19-cv-08268-DLR Document 47-3. Filed 10/16/20 Page 37 of 60 ~

Welcome TO LoveséSs3

pate: 10/28/17
Times. G4s5t~
Inveice # 21298

NCFL Card sale
Seva RRRHNERAS IB?

rump Galinns Price
5 4,286 $2,439

Praduct
unieaded

TOTAL SALE | $ 48.45 }

terminah : 7
appraved® g24295
REF: 79947

Thank You a4}

BSE 76 PALMDALE

9999459187
4§483 PALMDALE AD
VICTORVILLE , tA

qaseg/s2er7 (01721056
We. 22189 AM

INVOICE @O1S34
AUTH 8a-gG6956
REF 9281718291 70819

PUMPA S
REGULAR 48,2566
PRICE GAL G.148

FUEL TOTAL $ 44.50

Lay hee (a?

ta eonegeallon bo

& 44,58 *

Soe ne

Case 3:19-cv-08268-DLR Document 47-3 Filed 10/16/20 Page 38 of 60

Stephenson Gat PLelvry

GSE 76 PALMDALE

agegn45gi57
154635 PALMOALE AD
MICTORVILLE , CA

44/05/2817 701725435
04:52:59. PM

C Loves

STORE #386

3502 14875 §. Hwy 95
uc FLEET Lake Havasu, AZ 66404
(928) 764-1505
TOF ORT INVOICE 164902 \
woh «SEAN AUTH 86-859992 eee. Hee 99@57602 eee
SAR D ECO CA AEF (903921105171649 Type: SALE <WORTGINAL)
1POGB76254- pq PUMP 9 Oty Nene Price Total
HEY ij i. i EE TR pn ea is Ue eid ewes neseusus een aE.
Bil ih REGULAR 17.6636 : 7
SAND gata CA 4214 PRICE/GAL $3,319 hue Se 2.0
i a) | OMS: .
PAE gays) FUEL TOTAL $ $9.62 Price / Gal: 2.409
AUTH 095116. CREDIT g sa.eg |) Sbtotl ae
tt piece ; a Jotal 28.50
STCPHENSON/ ELSTON COWPLET IGN es egg satennees nencacerasceeer tenes
<ife e lace] Vad; 7
PLHP PRODL oe HASTERSARD FLEET 98.80)
t2 Hope et go Bes Batch: 13 Seq hn: 32 gaxxewenaver S02 SWIPEO ;
GALLO Tere Its ¢ Auth Ho: 067300
toeggg «| FUEL TOTRt Morkstation {0s 3 INVO14596
AN YOR taunts! Ener te
fein 1 of BBG Sieber aleiaciunaia wena teens isciupiatuaomnN sate
POR RUTPEATG AL, Youn gas gift cards: Punps. 1-16 & 25-92
Fravide tagdbacs Auta Diesel “ian Rate ® 8c
vate gaswiai tc
3 Pumps 17 through 24
Learn ha to s3f8 truck Glosel Tex Rate @ 26c
#4 cante/gallon 1
fuel statacsnt Reg:3 Clerk: Dennis
* credits, Go to
orivgsayyy.can or
sag details at she
tunp. Rastrictuors
apply, Offer
eapiras (fH,
5133
|
Case 3:19-cv-08268-DLR Document 47-3 Filed 10/16/20 Page 39 of 60

EXHIBIT X-27

Case 3:19-cv-08268-DLR Document 47-3 Filed 10/16/20 Page 40 of 60

Investigative Report
of
Brian Drapeaux

Date Posted to Web: December 2, 2014

This is a revised version of the report prepared for public release.

Case 3:19-cv-08268-DLR Document 47-3 Filed 10/16/20 Page 41 of 60

OFFICE OF
INSPECTOR GENERAL

U.S.DEPARTMENT OF THE INTERIOR

Memorandum

To: Kevin K. Washburn
Assistant Secretary — Indian Affairs

From: Mary L. Kendall
Deputy Inspector General

. Subject: Report of Investigation — Drapeaux, Brian
Case No. PI-PI-12-0084-I

The Office of Inspector General has concluded an investigation regarding a complaint
submitted by the Bureau of Indian Affairs (BIA) supervisory contract specialist, who alleged that
improprieties existed with the Bureau of Indian Education (BIE) organizational assessment (OA)
procurement process. Specifically, she stated that she had been replaced as the contracting
official after addressing a conflict of interest pertaining to BIE Chief of Staff Brian Drapeaux.
Drapeaux had been employed by the OA contract recipient, Personal Group, Inc. (PerGroup),
within 12 months of participating as a technical advisor on the project.

Our investigation determined that Drapeaux was employed by PerGroup on several
occasions, the last one from June 2009 to September 2010. Drapeaux began employment with
DOI on September 13, 2010. While the initial OA contract awarded to PerGroup was under
development, Drapeaux and BIE Director Keith Moore advised a key OA evaluation panel
member on what actions to take, and Drapeaux also helped write the statement of work. The
supervisory contract specialist tried to remediate the conflict of interest by cancelling the initial
contract and requiring key decisionmakers, including Drapeaux, to sign a procurement integrity
certification before moving forward with a new procurement. The supervisory contract specialist
also stipulated that, upon award, PerGroup could not participate in the OA contract at any level,
whether as contractor or subcontractor.

Because of the supervisory contract specialist’s insistence on these stipulations, the
matter was elevated to key Indian Affairs officials, all of whom appeared to disregard the
supervisory contract specialist’s warnings and admonitions about the OA conflict of interest.
Despite their involvement with the procurement, Drapeaux, Moore, and BIE Assistant Deputy
Director for Administration David Talayumptewa would not sign the certification. The
procurement was reassigned from the supervisory contract specialist to a contract specialist with
no contracting experience and no warrant. The contract was eventually awarded to All Native,
Inc., an 8(a) certified company. Despite the supervisory contract specialist’s stipulation,
PerGroup was designated as a subcontractor on the contract, responsible for 41 percent of the
contractual work.

This is a version of the report prepared for public release.

Office of Investigations | Washington, DC

Case 3:19-cv-08268-DLR Document 47-3 Filed 10/16/20 Page 42 of 60

We are providing this report to you for whatever administrative action you deem
appropriate. Please send a written response to this office within 90 days advising us of the results
of your review and actions taken. Also attached is an investigative accountability form that
should be completed and returned with your response. Should you need additional information
concerning this matter, please contact me at 202-208-5745.

Attachment

Case 3:19-cv-08268-DLR Document 47-3 Filed 10/16/20 Page 43 of 60

SYNOPSIS

On November 23, 2011, the Office of Inspector General initiated an investigation: resulting from
a complaint by the Bureau of Indian Affairs (BIA) supervisory contract specialist, Gallup, NM.
The specialist alleged improprieties in the Bureau of Education’s (BIE) organizational
assessment (OA) procurement process. Specifically, she stated that she addressed a conflict of
interest created when BIE Chief of Staff Brian Drapeaux served as a technical advisor on the OA
project after having been employed by contract recipient Personal Group, Inc. (PerGroup) within
12 months of accepting his BIE position. She alleged that her actions led to her removal as the
contracting official and replacement by a less experienced employee, even though BIE senior
officials knew of the conflict.

During our investigation, we found that Drapeaux had worked for PerGroup within 12 months of
his BIE employment. We also found that this situation created a conflict of interest once
Drapeaux became closely involved in the procurement process because PerGroup competed for
and received the contract award. We also found that the contract specialist’s efforts to mitigate -
that conflict, first through termination of the award and then through stipulations excluding
PerGroup from participating at any level in a sole-source contract to a small, disadvantaged 8(a)
company, resulted in the procurement action being transferred away from her and given to
another contract specialist with limited experience and no warrant of authority. Subsequently,
PerGroup was included in the OA contract as a subcontractor, despite the conflict of interest
involving Drapeaux and the contract specialist’s efforts to mitigate the situation. Also, Drapeaux
and another BIE official, Director Keith Moore, maintained a longstanding friendship with the
PerGroup president, an eventual subcontractor to the OA contract. These senior BIE officials
appear to have acted in violation of Federal ethics regulations governing impartiality (5 C.F.R. §
2635.502) and the use of public office for private gain (5 C.F.R. § 2635.702). Finally, other BIE
officials who knew of these conflicts of interest chose to ignore them during the procurement

process.
BACKGROUND

In 2009, the Office of Management and Budget (OMB) asked the Bureau of Indian Education
(BIE) to conduct an organizational assessment (OA). The following year, on October 4, 2010,
when BIE had not made progress on the assessment, BIE Director Keith Moore and then-new
Chief of Staff Brian Drapeaux met with the chief of the Interior Branch, OMB Natural Resources
Division. She expressed exasperation with BIE.

According to Moore, Secretary of the Interior Ken Salazar also considered BIE to be
underperforming. To be responsive to Secretary Salazar and to OMB, Moore and Drapeaux
made the assessment a high priority, intending it to become one of BIE’s educational
cornerstones. They anticipated that the assessment would have two phases. The first phase would
determine if BIE leadership and middle management performed at appropriate levels. The
second phase would determine why schoolchildren in BIE schools failed to achieve.

To move forward, Moore tasked David Talayumptewa, BIE Assistant Deputy Director for
Administration since 2009, with oversight of all necessary contractual activities. This included
writing the statement of work (SOW) and helping Drapeaux and Moore understand the

Case 3:19-cv-08268-DLR Document 47-3 Filed 10/16/20 Page 44 of 60

requirements of the multiphased project. He also charged Talayumptewa with completing the
procurement, both because of his experience and because he and Drapeaux trusted
Talayumptewa. Talayumptewa’s familiarity with the supervisory contract specialist’s work led
Talayumptewa to recommend her as the contracting officer. Moore acknowledged knowing little
about contracting, and so he relied on Talayumptewa.

DETAILS OF INVESTIGATION

We initiated this investigation on November 23, 2011, due to concerns expressed by the BIE
supervisory contract specialist regarding procurement improprieties related to the assessment
contract for which she was responsible. She alleged being removed from oversight of this
procurement after she terminated the original contract due to a conflict of interest with Chief of
Staff Brian Drapeaux, who had worked for the awardee, Personal Group, Inc. (PerGroup), within
12 months of his BIE employment. Her efforts to mitigate the conflict and ensure that the
contract was awarded without violating law, rule, or regulation led to her replacement by a new
employee with limited experience and no warrant of authority.

Senior managers Moore and Drapeaux acknowledged having longstanding relationships with
colleagues outside of BIE. They both freely discussed aspects of the assessment with these
individuals. Drapeaux said he occasionally had coffee during the past 10 years with Moore, as
well as with the Dean of Education at the University of South Dakota and the PerGroup
president. As colleagues, they discussed such topics as education, Indian Country, economic
development, and related matters. He described their relationships as well established, adding
that their children played basketball together and ran track and cross-country races.

The president and majority stockholder of PerGroup, an organization interested in and ultimately
responsible for aspects of the assessment, hired Drapeaux as the company’s vice president from
2004 to 2007 and from June 24, 2009, to September 10, 2010. Drapeaux left to become BIE Chief
of Staff on September 13, 2010, working for Moore. Moore also knew the PerGroup president,
describing him as a professional colleague with whom he shared numerous discussions about “all
things Native.”

Both Moore and Drapeaux also acknowledged maintaining friendships with the Dean of Education
for the University of South Dakota, who had met Moore at the South Dakota State Department of
Education when his colleague was the Secretary of Education and Moore the Indian education
coordinator. The Dean of Education and the PerGroup president also knew each other through their
personal and professional relationships with Moore and Drapeaux. The PerGroup president
acknowledged to investigators that his ties to Moore and Drapeaux might suggest to outsiders that
PerGroup was favored for the contract.

Conflict of Interest Identified

We interviewed the principal individuals involved in the initial OA contract to determine the
sequence of events leading up to identification of the conflict of interest and the contract’s
termination.

Case 3:19-cv-08268-DLR Document 47-3 Filed 10/16/20 Page 45 of 60

The BIE contract specialist confirmed that the contract had been awarded to PerGroup on March
7, 2011. The award was protested on the basis that Drapeaux was a former vice president of
PerGroup. The contract specialist considered it appropriate to terminate the contract because
Drapeaux also had served as a technical evaluator during the procurement process. She said he
assisted her and Talayumptewa with review of the statement of work (SOW), the Independent
Government Estimate, and any market research information or suggested sources they had for
the SOW requirements. Drapeaux was not a voting member of the evaluation panel, however.
According to the BIE contract specialist, the contract was terminated on April 1, 2011, because
of Drapeaux’s involvement and his employment with PerGroup.

Drapeaux acknowledged that a panel evaluated the OA proposals and that sometime during this
process Talayumptewa told him that PerGroup was among the competitors. When investigators
first asked Drapeaux about the contract, he said that PerGroup had not informed him of its
participation in the competition. Later, however, he said that he could not recall if PerGroup had
informed him of its intention to compete. Whether or not he was told, he said the bid had not
raised any red flags because he knew the PerGroup president to be someone who would do a
good job and that having him on the contact would give the organization trustworthy people to
work with.

Frustrated by cancellation of the contract, Drapeaux also told investigators that his PerGroup
employment made no difference to the contractual process. He said that he previously asked
Talayumptewa to inform the contract specialist of his PerGroup employment and that his
employment had not been an issue until someone filed a complaint. He had not spoken with the
contract specialist directly, however, and denied serving as a technical advisor and evaluator for
SOW. He said that Moore also did not participate in the contract process.

Moore explained that the contract specialist had asked him to participate on the OA evaluation
panel but that he had recused himself after realizing that he knew several bidders. He felt that his
participation could pose a conflict but did not discuss his recusal with the contract specialist. He
also said that he asked Talayumptewa to let the contract specialist know about Drapeaux’s
previous PerGroup employment but that he did not report this to her directly.

Moore said that he wanted to ensure that nothing stopped PerGroup from competing for the
contract, and that he, Drapeaux, and Talayumptewa had discussed the assessment early on to
define what they wanted assessed and to ensure that the results of their contract would not
duplicate another large scale assessment of BIE support functions being conducted under a
contract with the Bronner Group’ that was ongoing at that time.

We asked Moore if he ever discussed BIE’s focus with PerGroup before the OA request for
proposals. Moore explained that the Assistant Secretary’s office told him that senior BIE
managers were not trustworthy, and so he had turned to those he knew he could trust because of
his longstanding relationship with them, namely with the Dean of Education and the PerGroup
president. Moore acknowledged calling the Dean of Education every couple of weeks to use him
as a sounding board for issues he faced. Moore advised that their discussions would have

' “17S. Department of Interior — Indian Affairs Final Report: Examination, Evaluation, and Recommendations for the Support
Functions” by Bronner Group, LLC, 2012.

Case 3:19-cv-08268-DLR Document 47-3 Filed 10/16/20 Page 46 of 60

covered the state of BIE, but not the assessment, and that he would not have shared SOW
information.

We also asked Drapeaux if he advised PerGroup or gave them any procurement details. He said
that he did not give the PerGroup president any insight into the process.

We explained to Drapeaux that his previous employment and his new role at BIE not only
created concerns about an actual conflict of interest, but also created appearance issues.
Drapeaux acknowledged this, but said that he did not agree with the perception or the complaint
because he felt his previous employment issue should have been addressed earlier in the
procurement process and that addressing it later upset him because it caused the project to lose
time.

Investigators also spoke with the PerGroup president and the Dean of Education. The PerGroup
president said that the BIE contract specialist informed him on May 9 that the contract had been
terminated. The Dean of Education told investigators that he had telephone conversations about
the assessment with Moore every few weeks. Moore told him that BIE was accepting bids and
that PerGroup was one of several companies bidding on the contract. The Dean of Education
knew of PerGroup because he lived in Pierre, SD, where PerGroup was based. The Dean of
Education also said that he and Moore agreed that everything had to be aboveboard.

Contract Cancellation Followed By 8(a) Award

After cancelling the initial contract, the contract specialist informed BIE managers that they
could meet the OA objective by identifying an 8(a) qualified company to whom the contract
could be directly awarded without competition. Shortly after this, on June 8, 2011,
Talayumptewa sent the contract specialist an email, identifying Ho-Chunk, Inc., as the 8(a)
company requested by Moore. According to Drapeaux, Moore had feared that the conflict-of-
interest complaint and subsequent contract cancellation would force the assessment process to
start over. When the contract specialist suggested making the award to an 8(a) company without
competition, Drapeaux recommended Ho-Chunk, whose owner, he said, he had known for more
than 18 years. Moore agreed, made the selection, and communicated his decision to

Talayumptewa.

Moore confirmed for investigators that he and Drapeaux conducted research, identifying Ho-
Chunk and its subsidiary, All Native, Inc. (ANI). Moore said Drapeaux’s Ho-Chunk connection
came from his PerGroup work. Moore said he told the contract specialist that Ho-Chunk was the

8(a) company for the procurement.

The decision to award the contract to Ho-Chunk surprised the contract specialist, she said,
because Moore previously said that he wanted to wait until Drapeaux’s 12-month separation
from PerGroup had elapsed so that PerGroup could compete for the contract. When
Talayumptewa asked her if BIE should initiate contact with Ho-Chunk, the contract specialist
replied that only she should make contact. Because of the earlier conflict of interest, she did not
want BIE to conduct any market research for the new SOW or otherwise contact Ho-Chunk and

thus jeopardize the contract.

Case 3:19-cv-08268-DLR Document 47-3 Filed 10/16/20 Page 47 of 60

On June 8, 2011, the contract specialist responded back to Moore with an email that she also
copied to Drapeaux, Talayumptewa, and former BIA Office of Acquisition and Property
Management-Indian Affairs Director Kathy Daum. In the email, she requested clarification of
Moore’s previous request to delay the procurement until after Drapeaux’s cooling-off period.
She also informed him that she would be sending a procurement integrity certification form for
Moore, Drapeaux, and Talayumptewa to sign for the protection of all parties, including the
Government. The certification required them to attest that they had no conflicts of interest (e.g.,
financial interests, business relationships, or other conflicts) with Ho-Chunk, its subsidiaries, or
its subcontractors. Her email further stipulated that she would require the prime contractor, Ho-
Chunk, to identify any subcontractors. She indicated that PerGroup would not be allowed to
participate in the contract at any subcontracting tier level due to the organizational conflict of
interest identified under the previous contract.

When investigators questioned Drapeaux about the contract specialist’s email, he said that he had
tried to stay out of conversations surrounding the award. He agreed to comply with the
stipulations, he said, and claimed to be completely out of the procurement loop by the time Ho-
Chunk was selected on June 8, 2011. Questioned further, he admitted that he had made decisions
behind the scenes but claimed that he did not talk with Ho-Chunk employees. He and Moore
trusted that Ho-Chunk and PerGroup could complete the OA without a problem.

Moore said he questioned the contract specialist as to whether the certifications were based on
policy or were her own requirement. She responded that her decision stemmed from the Federal
Acquisition Regulations (FAR), which allowed the contracting officer to establish requirements
to protect the integrity of the procurement, Moore told investigators that he could not remember
the contract specialist explaining why she wanted the certifications, although he said that he did
not give her an opportunity to explain because of his itritation with the process.

The contract specialist told investigators that her June 8 response emphasized the need to
mitigate the appearance of a conflict of interest and to put some protections in place, essentially
the procurement integrity certification. She did this because she feared BIE managers would try
to back door the new process by including PerGroup.

Asked by investigators if the contract specialist stipulated any limitation regarding Ho-Chunk’s
status as the 8(a) contractor, Moore said that he and the contract specialist exchanged emails in
which she gave detailed information. He noted that a red flag went up for him and that he
became concerned that if he made any contracting mistake, an IG investigation would result.
Moore said that he also told Drapeaux to step away from the project and to quit being so
involved. Drapeaux stated, however, that he was not involved with the assessment contract after

the contract specialist’s initial directions.

Meanwhile, the contract specialist sent a follow-up email to Moore, Talayumptewa, and
Drapeaux on June 16, 2011, reminding them to respond to her information request and to sign
the certification. No one returned the completed form, but Moore emailed her to request a
meeting to discuss the contract. She heard nothing from Moore until July 12, after sending him
another email inquiry. Moore’s July 12, 2011 email chain formally cited Drapeaux’s recusal for
the first time in writing. Drapeaux told investigators that he had not known that he needed a

Case 3:19-cv-08268-DLR Document 47-3 Filed 10/16/20 Page 48 of 60

formal announcement, reasoning that others should have known he was recused because of the
OA procurement termination.

Contrary to Moore’s statement that Drapeaux had been recused, however, investigators found that
Drapeaux sent an email to Moore on August 8, 2011, stating that he had marked up the statement of
objectives to be sent to All Native, Inc. (AND), the 8(a) subsidiary of Ho-Chunk that would complete
the OA. Drapeaux also said that Ho-Chunk was ready to start work.

Moore explained that Drapeaux’s recusal only meant that he had been recused from internal
conversations about the contract, but that Moore would continue to rely on Drapeaux’s expertise,
considering Drapeaux to be his strongest ally and colleague. Supervisory Contracting Specialist
(later the Chief of Contracting) David Brown also confirmed that Drapeaux was involved in the
procurement process, even though PerGroup was a subcontractor.

Moore also told investigators that he took the contract specialist’s email concerning the
certifications to the Solicitor’s Office to determine if the request was standard and if he was
obligated to sign. He was told that the contract specialist’s request was not standard, but could
not recall who told him this.

Moore said that the difficulty with the procurement bewildered him. He wondered why the
contract specialist had not identified the need for certifications at the beginning of the procurement.
He further said that Drapeaux’s employment was a nonissue for him even though the contract
specialist felt that she should have known up front. He said he felt that he had already disclosed the
issue. He reported telling Talayumptewa that he wanted to ensure that all aspects associated with
getting the contract in place occurred in a legal and proper manner. Moore said, however, that he
had been unwilling to sign the certifications.

Drapeaux said that his interview with OIG investigators was the first time he recalled seeing the
certification form. He added that if he had seen the form, he would have advised Moore and
Talayumptewa to sign it because he realized it would not impact the contract. He subsequently
said that he dropped the ball regarding the form and would have recommended signing it, had he
not stopped performing tasks associated with the contract.

Drapeaux did not recall discussing the certification with Moore and could not explain how the
procurement moved forward since the contract specialist’s stipulations were not met. Drapeaux
questioned why the contract specialist had not required the certifications from the beginning.
The PerGroup president indicated that he heard nothing about the assessment after the award
cancellation until he was contacted by the BIA contracting office. He also heard from the Dean
of Education that BIE intended to award the contract to an 8(a) certified company. The PerGroup
president did not know how the Dean of Education knew but suggested that the information may
have come through his friendship with Moore, which dated back to their mutual employment by
the State of South Dakota.

The PerGroup president, in turn, referred the information concerning the 8(a) opportunity to Ho-
Chunk, because PerGroup lacked 8(a) certification and he knew that Ho-Chunk wanted to work
under such a contract. The PerGroup president contacted a project manager for ANI, to tell her

Case 3:19-cv-08268-DLR Document 47-3 Filed 10/16/20 Page 49 of 60

what he knew about the project. He also conveyed to Ho-Chunk that PerGroup would be
interested in working on the project if Ho-Chunk received the award.

The PerGroup president explained that he had met the Ho-Chunk chief executive officer through
his attorney several years before. At that time, they agreed to team up on joint ventures.
PerGroup and Ho-Chunk signed a nondisclosure agreement in September 2010 and a teaming
agreement with ANI in August 2011.

The PerGroup president learned from ANI that ANI was working on the statement of objectives
for the contract. ANI approached PerGroup to ask what it could offer. The PerGroup president
did not know if ANI had approached the Dean of Education to request his participation at that

point.

The PerGroup president said PerGroup helped ANI draft a proposal responding to the statement
of objectives. PerGroup had responsibility for 44 percent of the labor on the contract; the Dean
of Education had responsibility for 6 or 7 percent; and ANI had responsibility for the remaining
50 percent. PerGroup agreed to develop a survey and collect data—BIE stakeholders, including
education line officers, assistant deputy directors, and BIE employees at all levels, were to be
surveyed for their opinions of BIE leadership and structure. Once stakeholder data had been
collected, PerGroup would give the information to ANI.

The Dean of Education said that he learned about ANI’s involvement from the PerGroup
president in July or August 2011. The PerGroup president told him that ANI was interested in
the procurement but that neither PerGroup nor the Dean of Education needed to compete because
they would be ANI subcontractors. The Dean of Education said that he met with ANI and
PerGroup in Vermillion, SD, because ANI wanted to know about the first contract, as well as
discuss the Dean of Education’s background and possible involvement in the new contract. After
the meeting, he learned that ANI received the contract award and wanted his involvement.

BIE Contract Specialist Replaced

The contract specialist said that about August 23, 2011, she learned from Property Management-
Indian Affairs Director Kathy Daum that the OA procurement was being reassigned because
Moore, Talayumptewa, and Drapeaux felt they did not have to sign the certifications. The
contract specialist previously had consulted with Daum about the conflict of interest surrounding
Drapeaux’s PerGroup employment and, at that time, Daum had supported the contract’s
cancellation.

Daum told investigators that the contract specialist’ requirement for the signed certifications had
seemed reasonable to her since contracting officers are financially and criminally liable for their
procurement actions, which gives them latitude to make such decisions. Daum also said that she
had agreed with the contract specialist that PerGroup should not be involved at any level in the
new procurement and that she would not have awarded the contract to Ho-Chunk/ANI, knowing
its connection with PerGroup and Drapeaux. Daum agreed that the contract was ultimately
awarded improperly.

Case 3:19-cv-08268-DLR Document 47-3 Filed 10/16/20 Page 50 of 60

Responding to the contract specialist’ request for signed certifications, Moore told Daum that he
had elevated the issue to Paul Tsosie, Chief of Staff to the Assistant Secretary — Indian Affairs
(AS-IA), who had assigned it to Special Assistant Jeannette Hanna. In response, Daum told
Moore, Tsosie, and the other managers that the contract specialist had the right and authority to
require the signed certifications.

Moore later confirmed for investigators that he had elevated the issue to Tsosie after trying to work
through Daum and George Skibine, then Deputy Assistant Secretary for Management —~ Indian
Affairs. Moore wanted Tsosie to know the steps taken by BIE and told him that BIE was again
struggling with the contracting office. Asked if he ever discussed the contract specialist’s concerns
with Tsosie, Moore said he did not recall doing so, although he did recall sharing his own
perspective. When investigators asked about the procurements elevation to AS-IA, Drapeaux
replied that BIE’s relationship with the contracting office was a complete disaster and needed to
be addressed by AS-IA.

Investigators asked Tsosie how he responded to the July 12 email. He said he received a copy but
did not give it much attention. Asked further if he was responsible for emails concerning the
contract, he said he received numerous emails but did not intend to get involved in the details of
the contract. He added that even though it would have been a good idea, it was not his
responsibility.

Tsosie recalled writing a return email stating that he wanted to be in the room for any
discussions. According to Tsosie, he tasked Hanna with getting the project back on track. Tsosie
said he was not aware that Moore and Drapeaux refused to sign certifications but vaguely
remembered Moore saying that his team was being asked to do things that no one else was asked
to do. He could not remember if he responded to Moore.

Jeanette Hanna said she received the contract specialist’s emails, but did not read them in detail
because she was involved only at the highest levels. She had been tasked with getting the project
back on track by prompting the two sides to communicate effectively to award the contract.

Investigators asked Moore if BIE, BIA, and AS-JA senior officials discussed the contract
specialist’s conflict-of-interest concerns. Moore said they had not because they were down to the
deadline of getting the contract in place. When asked if the senior officials disregarded the laws,
rules, and regulations outlined by the contract specialist because of a time shortage, Moore said that
he regarded Skibine, the contract specialist’s supervisor, as the expert when he needed to interpret
and respond to the contract specialist’s analysis.

Daum said that, ultimately, because the contract specialist would not act on the procurement
without the signed certifications, she moved the contract to the Central Office, where the
procurement was assigned to Brown and a new contract specialist. Daum said she was not told to
take the procurement away from the contract specialist who had previously been assigned to the
job, but had been pressured to move the contract forward. She felt the reassignment was the best
alternative to award the contract. When asked if these steps were proper, Daum indicated that
they were not but that such things happened a lot.

Case 3:19-cv-08268-DLR Document 47-3 Filed 10/16/20 Page 51 of 60

The contract specialist stated that after the new contract specialist received the assignment, he had
called her for documents. They briefly discussed her view. He told her that he did not agree with the
actions being taken but that he was new and did not have a warrant, so was doing as he was told.
The contract specialist said that she then emailed Brown to inform him of the situation. He seemed
caught off guard and uninformed of the circumstances, she said, but still did not prevent the contract

from going forward.

In speaking with investigators, the new contract specialist did not mention telling the former
contract specialist of his concerns with the procurement. He did indicate being tentative about his
involvement because he was new, the procurement set-aside was for $840,000, and he had no

contracting experience.

When asked why the contract specialist was taken off the OA procurement, Drapeaux said he did
not know but speculated that Daum did not like her work. He reiterated that he did not put any
stock or confidence in any of the contracting officials assigned to BIE. Moore echoed this
analysis when investigators pointed out that after the July 12 email, the contract specialist was no
longer included in email strings about the procurement. Moore said he did not know why she was
no longer included, but that he had been fed up with the situation, and possibly said to Skibine that
the contract specialist needed to be removed.

Moore said that he shared with Skibine and with others the contracting struggles BIE had
experienced. When we told Moore that the contract specialist had been replaced by a new contract
specialist with no prior contracting experience and no warrant, Moore said that he had no authority
to remove the former specialist and no knowledge of the new contract specialist’s qualifications.

Tsosie also said he had no role in the contract specialist’s removal or in deciding who the
contractors should be. Hanna, likewise, had no knowledge of who had directed the contract
specialist’s removal. She did say that she told Vicki Forrest, former BIA Deputy Director, Office
of Trust Services, that she might need another contracting officer if she wanted to keep both
sides talking. Hanna said that she did not directly advise transferring the contract specialist, nor
did she expect her comment to have a detrimental effect.

As the person responsible for the OA procurement after the contract specialist’s removal, Brown
said he knew that the contract specialist had required certifications to be signed—a judgment
call, he said—but did not know that she had stipulated PerGroup’s noninvolvement in the
contract. He thought that was not her call since he believed that the OA procurement process had
been transferred away from her by then.

Agent’s Note: The OA procurement process was still assigned to the contract specialist at the
time that she required the certifications; it had not yet been transferred.

Brown later conceded that if the procurement was still assigned to the contract specialist, she
could have stipulated PerGroup’s noninvolvement.

When asked who from BIE had recommended the 8(a) company that was awarded the contract,
Brown identified Drapeaux and Talayumptewa. Questioned about their involvement since

Case 3:19-cv-08268-DLR Document 47-3 Filed 10/16/20 Page 52 of 60

Drapeaux worked on the SOW, Brown replied that the OA contract was awarded to ANI. He
indicated that the subcontractors they hired were up to them and that BIE’s contract was with All
Native, rather than All Native and their subcontractors. Brown said he did not know how
PerGroup got involved with the contract but considered PerGroup to be a small business and a
subcontractor.

Investigators then asked Brown if he had taken any action when he saw PerGroup’s name on the
ANI proposal. He said that he fell back on knowledge that the prime contractor was All Native
and that whatever subcontractors they used were up to them because the Government would hold
ANI responsible.

When asked why the OA procurement was transferred to the new contract specialist, who had no
contracting experience, Brown said that the action was not abnormal. He conceded that assigning
the new contract specialist to the procurement may have been a mistake, even though he said
there was no malice in the process.

When challenged on his assertion that the procurement transfer was not abnormal, especially if
the contract specialist acted in the best interest of the Government, Brown emphasized that time
had been of the essence. He cited the FAR, stating that the contracting officer should avoid
creating unnecessary delays, burdensome information requirements and excessive
documentation. Investigators also cited FAR guidance to avoid “any conflict of interest or even
the appearance of a conflict of interest.” Brown said that both statements were in the FAR and
that he made a business decision by choosing expediency.

BIE Officials Overlooked PerGroup’s Inclusion as OA Subcontractor

Keith Moore acknowledged that PerGroup ended up as a subcontractor due to Drapeaux’s ties to
both PerGroup and Ho-Chunk. Moore stated that PerGroup was not given any preference in the
procurement process, but said that he felt irritated with the process that forced them to earn the
contract. After the hours and hours of legwork that went into meeting the deadline, he noted, the
applicants still could not get the contract. Even though they followed the process, he said, the
contract was taken from them.

He indicated that he probably suggested to Drapeaux and Talayumptewa that PerGroup be
involved as a subcontractor. He told them that if subcontractors were needed, PerGroup had

earned the opportunity.

Investigators asked Drapeaux how PerGroup ended up as a subcontractor despite conflict-of-
interest warnings given to senior managers. He said he did not know, but indicated that he
introduced PerGroup and Ho-Chunk while working for PerGroup. He denied influencing
PerGroup’s participation on the contract. Asked if he discussed the assessment during events he
attended with the PerGroup president, the Dean of Education, and Moore, he said he probably
discussed the need for an assessment. Drapeaux said that it became evident that if they were
going to do a good job—they simply needed to build a team of individuals who were experts in
their fields and could help move BIE forward. Drapeaux denied building a team for the
assessment, saying that he did not strategize with PerGroup or the Dean of Education to get them

10

Case 3:19-cv-08268-DLR Document 47-3 Filed 10/16/20 Page 53 of 60

on the contract and that he personally had not benefited in any way. He did say that he may have
reviewed the statement of objectives to ensure no duplication with the Bronner Group
assessment but did not mention it to ANI.

Talayumptewa said that once he found out that the contract went to Ho-Chunk, with PerGroup as
a subcontractor, he and the contracting officer’s technical representative called Moore to find out
what was going on. Talayumptewa said Moore told him that the contract had been processed
through Brown’s office in Reston, VA. Talayumptewa acknowledged that the situation was
contrary to what he knew the contracting regulations to be and that it bothered him.
Talayumptewa said that he told Moore not to deal with PerGroup because of the conflict of
interest, but Moore said that the Reston office had approved of PerGroup as a subcontractor.

The new contract specialist said he also discussed the conflict of interest with Brown, who told
him that a separation existed because BIE was dealing with ANI, not PerGroup. The new
contract specialist then determined that a conflict of interest did not exist because PerGroup was
a subcontractor. Nevertheless, the new contract specialist agreed that the relationship between
BIE leadership and PerGroup presented an appearance problem. Recognizing that the assessment
had been reassigned from the contracting specialist, who was an experienced contracting veteran,
to an employee with 1 month of Federal experience, no experience in the contracting field, and
no warrant, the newly hired contracting specialist acknowledged that the action was kind of
weird.

Questioned by investigators, the PerGroup president said he did not know if Moore or Drapeaux
had any influence on ANI selecting PerGroup as a subcontractor. He did not recall having
participated in any discussions with Moore, Drapeaux, and ANI regarding the partnership
between ANI and PerGroup.

Three ANI representatives confirmed, however, that the PerGroup president had informed them
of the 8(a) opportunity and also of the conflict of interest, which, he indicated, had been
resolved. ANI’s Vice President for Business Development said the PerGroup president told him
that Drapeaux would not be involved in the source selection, so the conflict of interest was a
nonissue. Moore also explained that PerGroup ended up being a subcontractor because the
PerGroup president had brought the OA procurement opportunity to ANI.

ANI’s project manager said the PerGroup president also told her about the conflict of interest,
but said Drapeaux was not involved in the decisionmaking, so it was not an issue. She said she
did not know how PerGroup became a subcontractor, although the PerGroup president earlier
told investigators that he first contacted ANI’s project manager to tell her about the project.

The ANI director of operations said ANI’s project manager informed him of the PerGroup
conflict of interest with Drapeaux. He also said that the project manager told him that Drapeaux
was not involved in the decisionmaking, so the conflict of interest was not an issue. The ANI
director of operations then stated that if he had been aware that the conflict of interest still
existed, he would have told his team not to pursue the contract or would have asked if there was
another business with which ANI could partner on the contract. The ANI director of operations
also said that it would not have been worth it for ANI to take a chance on dealing with a

11

Case 3:19-cv-08268-DLR Document 47-3 Filed 10/16/20 Page 54 of 60

company burdened with a conflict of interest, when ANI regularly deals with contracts valued at
$20 or $30 million. He added that he did not know how ANI learned about the assessment or
how PerGroup became a subcontractor.

Concerns Regarding Implementation of the Second OA Contract

During the course of our investigation, we learned that the BIA contracting officer’s technical
representative had concerns that ANI and PerGroup held conversations about the OA contract
without the contracting officer’s representative and the ANI contract manager being involved. The
contracting officer’s technical representative said that PerGroup and either Moore or Drapeaux
discussed how to conduct focus groups that were to be convened to review and discuss the
validity of the OA findings and that they had input on creating the list of participants for the
group. She explained that the conversations between PerGroup and Moore or Drapeaux were
inappropriate and that she needed to be informed of all transactions so that contractors were not
told or promised

something that was not in the SOW. The contracting officer’s technical representative said that
Moore and Drapeaux agreed to comply with her requirements, although she still had concerns
because Drapeaux and PerGroup were friends and that, at a meeting in Phoenix, AZ, they had
acted like they knew each other well.

The contracting officer’s technical representative also expressed concern about documents
pertaining to other outside contractors that had been requested by PerGroup under the contract
and that might give it an unfair advantage for future bids. She consulted with the new contract
specialist, who looked into the issue and determined that, since the requested information was
available to the public, BIE could share it with ANI and PerGroup. The new contract specialist
explained to investigators that ANI and PerGroup had only requested summary information,
rather than anything that was privileged or proprietary, from these outside contractors. Moore
also explained that PerGroup had asked to review BIE contracts to determine if BIE could save
money by having the work completed by BIE employees. Moore said that those contracts cost a
lot of money, so BIE wanted to diminish the number of contracts it held.

Investigators found that the concern of the contracting officer's technical representative had no
bearing on the details of this investigation.

SUBJECT(S

Brian Drapeaux, Chief of Staff, Bureau of Indian Education
Keith Moore, former Director, Bureau of Indian Education

DISPOSITION

The U.S. Attorney’s Office for the Eastern District of Virginia has declined to prosecute this
case. We are referring this report to Laura Davis, Chief of Staff for the Secretary of the Interior,

for any action deemed appropriate.

12

Case 3:19-cv-08268-DLR Document 47-3 Filed 10/16/20 Page 55 of 60

EXHIBIT H

Case 3:19-cv-08268-DLR Document 47-3 Filed 10/16/20 Page 56 of 60

Case 3:19-cv-08268-DLR Document 47-3 Filed 10/16/20 Page 57 of 60

United States Department of the Interior

NATIONAL PARK SERVICE
INTERMOUNTAIN REGION
12795 West Alameda Parkway
PO Box 25287
Denver, Colorado 80225-0287

iv REPLVREFEA Tu, May 22, 2019
P4217 (IMDE-EEO)

CONFIDENTIAL: TO BE OPENED BY ADDRESSEE ONLY

By U.S. Certified Mail #: N/A

Elston Stephenson
41551 Ventana Drive
Palmdale, California 93551

Mr. Stephenson:

In accordance with Department of Interior regulations, enclosed is a copy of the Report of
Counseling for Equal Employment Opportunity Complaint # NPS-18-0460. This is a report of
inquiry prepared by EEO Counselor Mr. Ron Chen, on behalf of the Intermountain Region, into
the allegations you brought forth on June 11, 2018. This matter is also in relation to your
allegation of a Settlement Agreement breach/non-compliance you brought forth on October 29,
2018 in connection with your original complaint (NPS-18-0460), where the Department of the
Interior ~ Office of Civil Rights ruled that the Agency was in non-compliance of said Settlement
Agreement.

You will receive or may have already received further information from the National Park
Service, Office of Equal Opportunity Programs in Washington, D.C., concerning your formal
complaint of discrimination. In the meantime, you should be aware that the Report of
Counseling may contain information about other individuals that is subject to the non-disclosure
provision of the Privacy Act of 1974 (Public Law 93-579). You must ensure the privacy of those
persons. Violation of the privacy act could result in criminal penalty.

Should you have any questions, please feel free to contact me at 303-969-2598.

Sincerely,

Kecewvel-7. Uheon
Roosevelt T. Wilson
Regional Equal Opportunity Manager

Enclosure: Report of Counseling, w/attachments
Case 3:19-cv-08268-DLR Document 47-3 Filed 10/16/20 Page 58 of 60
“Tle feStof TERI COUTTS TO MU ree

SF Se
Dh Ser Sobers” Lastly, this was na mp iplebiny ole

or Lime foepe thy » “thig ELS prkerviewd) Would have. : /
hogpenial Wotd Same. prvimde inc. as He. 1G interview J /
He wislyia fo +he EEO'invesh us} as he ye behnerty
attributable é, thah, However, Deputy Superintendent Drapeaux cited an
dated May 22, 2018 and she replied to it that same day. Deputy Superintendent Drapeaux stated
Superintendent Lehnertz's reply was that the AP needed to submit some references so that the
documentation would be complete and in order for her to sign the appointment letter.

‘Ss

d, Evaluation and Appraisal;

oe on

1) Deputy Superintendent Drapeaux acknowledged the AP first began working at GRCA in June of
2017. However, Deputy Superintendent Drapeaux said he only became the AP's supervisor at the
end of September of 2017.

“fo ensvre Gehdch

3

fal

Deputy Superintendent Drapeaux stated the AP first asked for an EPAP (performance appraisal)
from him in June of 2018 and not previously. Deputy Superintendent Drapeaux sald he had also
provided the AP with performance counseling beginning in October of 2018 and jt hes been
ongoing.

Issue 2: Whether Complainant was subjected to retaliation for his prior EEO activity when
he was subjected to an investigation on or about 06/15/18.

Deputy Superintendent Drapeaux reiterated he is the AP's first-line supervisor end that the AP Is a
member of GRCA’s senior executive staff, Deputy Superintedent Drapeaux noted the AP Is therefore a
part of the management. Deputy Superintendent Drapeaux explained that the senior executive
management staff is especially sensitive to and proactive in fostering a respectful and, inclusive
workforce and workplace given GRCA's history. Deputy Superintendent Drapeaux stated the
management consequently endeavors to be extremely aware of any practices or behavior that might be
construed as antithetical to this,

TOSS aad
this Fie the

?-

eputy Superintendent Drapeaux stated it was against this background that he had an informal
i ion with the AP about his behavior towards women in June of 2018. Deputy Superintendent
Drapeaux said he had at least seven complaints from different women about the AP's behavior towards
them going back to September of 2017. Deputy Superintendent Drapeaux stated these complaints have
been ongoing. Deputy Superintendent Drapeaux said that as a supervisor, when he becomes aware of
any employes complaints of potential harassment then it is incumbent upon him to fook into them and
he did so with each of these complaints. Deputy Superintendent Drapeaux stated none of them
, triggered a formel administrative investigation or inquiry. Nonetheless, Deputy Superintendent
>) Drapeaux reported that in looking Into these complaints it became apparent that multiple women view
the AP's behavior towards them as elther bullying or treating or regarding them in a subordinate
manner. Deputy Superintendent Drapeaux said this has been problematic on a few levels.

oo

Also, d

Wt

tt
QnctHter eye
eftrasd SeceE

ny pl

oi.

é

=< Deputy Superintendent Drapeaux said he did not find the AP's behavior in each of these instances
warranted disciplining him, but it raised a number of issues that meant he needed to engage in with the
AP in an ongoing dialogue to make him aware of how his behavior is perceived and what he needs to
do in order to modify it, Deputy Superintendent Drapeaux said there were a number of reasons for this.

iS tis Aof Free wry
. Agqedn

u

Fees 1

faed
in. order 45° d.

co

Y Deputy Superintendent Drapeaux noted that as a preliminary matter, it is the particular responsibility of
A. the members of GRCA’s senior executive staff, of which the AP is a member, to promote & respectful,

pirate, OFF Maple SIYqf Dal Yeo V ewes Aap AS? hwo 13
T, vboryp 3 woos 4! pew ABS Some 7 Dray “HOE 'e~ AIL

LF aby 2 pps p pam bead 14s Spee sve BF
iG

(Vet oa
Cand

‘/ a yf B24- pooday ST MH }°2°7) “B19T' PO ui vy
Sth Sis >

KIAL ast A Mele FI

8S |

sahhaen Cheat WH a1OF™ Uraéei7) us

from the AP to her

4 wiksunr?
y PRAY SOM -eyEp Mpa as Pe el yO. 7 Yd

PaCvaro Filon hunn

2
&
$

+

~

f

wa?

fotos

140719 $l xr.

P

wm «Oth

2b eu
p> UW Xnvo

d

Same
es

>

7 tes fo

‘Oa Leon “3.9

hn”

ay

Poke
fF A¢d:

sopn
ef
d.

?

¢

x ree

pests

May t Wa he

g

Z

i

vy
y 4119

Ss 4MAtD
On aL

29 Uapau
a

G

ip
ty @
Lawelens LL. Ler

“—kap wo
fy, eMep

ade
tierjrs

Pup shes >
FO »u
Lye
uous *OO!llal a,

‘
PA
Case 3:19-cv-08268-DLR Document 47-3 Filed 10/16/20 Page 59 of 60

: "

A Ae ey |

OFFICE OF
INSPECTOR GENERAL

U,S.DEPARTMENT OF THE INTERIOR

UNFOUNDED ALLEGATIONS OF
IMPROPER LEADERSHIP DECISIONS
AND HOSTILE WORK ENVIRONMENT
AT GRAND CANYON NATIONAL PARK

This is a revised version of the report prepared for public release.

ate) oF=) eas fefapl efel eats allel | Nadel ode ates te lian rela Cond bd ee as ee ed

Case 3:19-cv-08268-DLR Document 47-3 Filed 10/16/20 Page 60 of 60

approved leave
The Senior Official Did Not Provide an EPAP for a Subordinate Employee as Requested

The GRCA hired the senior official's subordinate employee on June 25, 2017, with a l-year
probationary period. The employee initially reported to Lehnertz but was transferred under the
senior official's supervision in September 2017. Lehnertz said that at that time, she told the
senior official he needed ta complete a performance review and create an EPAP for the
subordinate employee.

The DOI Performance Management System (370 DM 430) requires that a supervisor establish a
subordinate’s EPAP within 60 days of the beginning of the appraisal period, the employee's
entrance on duty, the assignment of an employee to a new position, the assignment of an
employee to a new or different supervisory position, or the assignment of an employee to a detail
or temporary promotion scheduled to exceed 120 days.

Lehnertz said she asked the senior official for a copy of the subordinate employee’s EPAP
during mectings on June 25, 2018, and June 29, 2018, and by email and text message on July 2,
2018. Lehnertz said the senior official responded to each of her requests that he had an EPAP for
the employee.

In the July 2 email, Lehnertz asked the senior official to provide her a copy of the signed EPAP
“first thing this moming.” Lehnertz said the senior official told her he was “working on it,” but
the signed EPAP was not on her desk when she arrived at the office on July 3. Later that day,

Lehnertz asked the senior official again in an email if he had a signed EPAP for the subordinate

employee.

The senior official responded to Lehnertz on July 6, stating, “After further review, I do not have
a signed EPAP [for the employee]. . . . In our discussions, I was sure that I had one signed... . I
was quite sure | had him sign the EPAP developed. Yes Chris, you did direct me to provide you
a copy of a signed EPAP. My apologies for not complying with your directive.”

On July 10, 2018, Lehnertz emailed an NPS regional manager stating she (Lchnertz) necded to
take a disciplinary action against the senior official because he was not truthful about the signed
EPAP. Later that same day, the senior official emailed the NPS regional manager, stating his
belief that Lehnertz had lost objectivity regarding the subordinate employce.

The NPS regional manager said she talked to the senior official in July 2018 and told him to sign
an EPAP for the subordinate employee immediately and that Lehnertz could hold the senior
official accountable if the subordinate employce did not have a signed EPAP, According to the
NPS regional manager, the senior official never completed the EPAP in response to Lehnertz’
requests.

The Senior Official Did Not Provide Lehnert Written Progress Reports Regarding a High-
Priority Park Initiative

Lehnertz said developing this high-priority initiative was important not only to the GRCA but

